Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 1of11

INVOICE 0052 FOR PROFESSIONAL SERVICES; JUNE 2019 ©

SS inassisoaoninpsnonncupnannonDnNISNNNSNCNNDSOUNIoNNONN = = Se

RELEASED BY SCOTT CRAGG
FEDERAL MONITOR
CRYSTAL REEF LLC, 13932 SOUTH SPRINGS DR, CLIFTON | VA 20124

a7 4
a* 9 Ig

4

.. RECEIVED & FILED +
CLERK'S OFFICE

JUL 08 2019

#s

ra
a

% us oistRIcT count &

“3 SAN JUAN, PR

Fy

EO: John Romero
Interim Federal Monitor

Puerto Rico Police Department Consent Decree

The invoice for professional services rendered by Crystal Reef LLC (Monitoring Core Team) during the month

of June 2019 is detailed as follows:

Billable
Task Performed US Hours | PRhours | Dates of Work Amount
Work Performed on-site in Puerto Rico 5 6/9/19 $750.00
8 6/10/19 $1,200.00
9 6/11/19 $1,350.00
9 6/12/19 $1,350.00
Net hours in PR 31 $4,650.00
Communications (prepare, review, answer)
- telcons and emails to/from CT, PRPB,
USDOI, Judge, Special Master 6.75 $1,012.50
Research methodologies applicable to
PRPB; UoF Investigation (LAPD), applicable
Albuquerque materials, Media articles on
PRPB Reorganization (provided by DoJ) 5.50 $825.00
Monitoring Methodology; Revisions,
Review of materials for Hearing,
coordination with Core Team, Review of
Blanco-Peck breakdown, Review of
Saucedo Final Consensus version, Review
of Saucedo Conventions Used in UoF
Methodology} 8.75 $1,312.50
Review of NPPR Paragraph 13
Implementation Plan L.z5 $157.50
Trip Report - June 2019 245 $412.50
Methodology teleconferences 4.25 $637.50
Site visit monitoring planning 1.25 $187.50
Net Hours US 30.50 $4,575.00
TOTAL BILLABLE HOURS IN PUERTO RICO @ $150/hr 31.00 $4,650.00

Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 2 of 11

TOTAL OF BILLABLE HOURS IN US @ $150/hr 30.50 $4,575.00
Subtotal - Labor $9,225.00
Uncompensated Labor 0.83 $125.00
Net Allowable Labor $9,100.00
Airfare $524.40
Hotel $407.10
Meals $162.58
Cab fares/transportation $42.54
Subtotal Expenses $1,136.62
Uncompensated Expenses $136.62
Net Allowable Expenses $1,000.00
Total Cost $10,361.62
Allowable Fee $10,100.00

John Romero — Acting Federal Monitor

COURTYARD”
Aartriott.

Mr Scott Cragg

13932 S Springs Dr

Clifton VA 20124
United States

Courtyard by Marriott
San Juan - Miramar
guest.service@courtyard.com

Marriott Rewards # 797225828

Name:

Case 3:12-cv-02039-FAB Document 1275 Filed 07/08/19 Page 3 of 11

801 Ponce de Leon Ave.
San Juan, PR. 00807

T 787.721.7400

F 787.723.0068

Room: 0406

Room Type: EKNG

No. of Guests: 1

Rate: $ 115.00 Clerk: 8

CRS Number 71648593

Time: #2115 Depart: 06-12-19 Folio Number: 608274

_

Date

06-09-19
06-09-19
06-09-19
06-10-19
06-10-19
06-10-19
06-10-19
06-11-19
06-11-19
06-11-19
06-11-19
06-12-19

06-12-19

Description

Package

Government Tax

Hotel Fee

COMEDOR- Guest Charge (Breakfast)
Package

Government Tax

Hotel Fee

COMEDOR- Guest Charge (Breakfast)
Package

Government Tax

Hote] Fee

Comedor - Guest Charge

Visa Card

Card # XXXXXXMXKXXX6833

Charges Credits
115.00
10.35
10.35
20.00
415.00
40.35
10.35
13.04
115.00
10.35
10.35
4.35
444.49

Balance ‘ 0.00 USD

Marriott Rewards Member, you could have eared points toward your free dream vacation today. Start earning points and elite status,
enjoy exclusive member offers. Enroll today at the front desk.

Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 4 of 11

SCOTT Frequent Flier: B6 3363415311
POMAIALOHA Ticket number: 2792126321659
CRAGG

DCA - SJU:

Fare: Blue

Bags: Your Mosaic membership includes two (2)
checked bags per person. You also get one (1) carry-on
and one (1) personal item.*

Seat: 12E

Notes: Even More Speed

SJU - DCA:

Fare: Blue

Bags: Your Mosaic membership includes two (2)
checked bags per person. You also get one (1) carry-on
and one (1) personal item.*

Seat: 12B

Notes: Even More Speed

Get up to 7" more legroom, a fast lane to the TSA

=

checkpoint, and early boarding—all the better to
nab that overhead bin.

Add Even More Space ||

*Select cities

Payment Details
Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 5of11

MKXXKKXX XK KK 3831 NONREF - FEE FOR $467.00
CHG/CXL
Taxes & fees $57.40
Total: $524.40

USD

Purchase Daie: May 18, 2019

Request full receipt

gq

The wheel deal.

Save with Avis and Budget when you add a car to your booking,
plus drive away with TrueBlue points on every rental.

Add a car!

Flight Tracker | Bag Info Airport Info

Stay Connected

bd
a
[x]
ii
[x]
{ |
[J
i

IE Download the JetBlue
mobile app

Hotels

Will

[14 Flights El

=| Flights + Hotel Cars

by JetBlue Vacations

Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 6 of 11

‘h
| 3 4 | 4
~ | Js
WE
| S/R ls
me
@oa.d2
ie & 6 #p
fae.
< ae 3
| TPs BBS

TAXI RECEIPT .
jp Ve DATE: 2[12
FROM: L\ Te
f speciaL \ TO: MA & M/
SERVICE _€s acne
CALL FARE: § = LUGGAGE: $
iat. TOTAL $
— SIGNATURE
TAXI RECEIPT che
A) J DATE:
FROM: _
f special \ To: / \v| ek —
SERVICE x
CALL FARE: $ LUGGAGE: $
Tale TOTAL$
— SIGNATURE

Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 7 of 11

Subject: [Business] Your Wednesday afternoon trip with Uber

Wednesday, June 12, 2019 at 3:12:22 PM Eastern Daylight Time
Uber Receipts
spcrags @verizon.net

Total: $9.50
Wed, Jun 12, 2019

Thanks for riding, scott

We hope you enjoyed your ride this
afternoon.

Total $9.50

You earned 19 points on this trip

Good news - you've been refunded a portion of your original upfront
price on this trip because of a change to the anticipated route. Please
see the receipt breakdown for details.

Trip Fare $8.44
Subtotal $8.41
Booking Fee $1.09

Amount Charged
Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 8 of 11

Subject: [Business] Your Sunday morning trip with Uber

Date: Sunday, June 9, 2019 at 7:00:07 AM Eastern Daylight Time
From: Uber Receipts

To: spcragg@verizon.net

Total: $13.04
Sun, Jun 09, 2019

Thanks for riding, scott

We hope you enjoyed your ride this
morning.

Total $13.04

You earned 26 points on this trip

Trip Fare $7.04
Subtotal $7.04
Tolls, Surcharges, and Fees $6.00
Amount Charged

eee 8973 Switch $13.04

Receipt ID # d63f84df-07a2-4255-a1c8-1 1d8c93356db
Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 9 of 11

LOS PINOS
655 PONCE DE LEON
SAN JUAN, PUERTO RICO 00901
ph (787) 722-6862

Gracias por su visita

TABLE: 41 - 1 Suest
Su Mecera (0) fue YAJAIRA
6/10/2019 7:28:51 PM
Sequence #: 0000144
ID #: 0140042

ITEM QTY PRICE
REFRESCO LATA (2081.75) $3.50
Casillero / Chardonnay (4836.00) $24, ee
ALITAS PLATO (3910.95) $92.8
ARROZ Y HABICHUELAS 1 $4.25
HABICHUELAS SIDE 1 $1.00
Subtotal $85.80
MUNICIPAL TX 1 ¥% $0.66
STATE TX 10.5 % $6.8
Grand Total $73.15
Credit Purchase
Name :ROMERO/JOHN J
CC Type ‘VISA
CC Num iXXXX KXKK XXXX 1287
Reference 1432025
Approval :06053D
Server 7YAJAIRA
Ticket Name 4]
Payment Amount: $73.15
Tip:
Total;

Xo
I agree to pi pay ay the amount shown above,

Le esperamos BREE

Suggested tip on $85.60
20% 18% 75%
$13.12 $11.81 $9.84

“Su Opinion es Inmportante

Pueblo®

MIRAMAR
Gerente Sonia Aguila
Tel. 787 725 4479

BIMBO 2X2 /VANI $1.79 T1ZF
PRODUCE
2.44 Ib @ $4,99/1b
MAS BLANCAS SIN SEM CALIFO $12,168 12FH

Ttens Subtotal $13.97
Subtota! $13.97
GOY [$1.79] $0.19
MUN [$13.97] $0.14
TOTAL $14.30
Debit card $14.30
A PSE GOI
Balance $0.00
Item count 2

TYPE =: Purchase
TENDER : Visa
CARD oo: §
HPEEFEPRELERH AIG
MID : 4549101270116
Tid ; 11600004

AMOUNT = $14.30

RESULT =: APPROVAL
DATE/TIME : 0609 130159
SEQUENCE #: 000640
AUTHOR. # : 64793D
RRN.# : 000000018642
Case 3:12-cv-02039-FAB Document 1275 Filed 07/08/19 Page 10 of 11

OTUTIOIIEd NG sOd SRTOEIH
AdOD YAWOLSND

"WanSst SH. HLIM INSWasa5¥
$ UIC OHONYD FHL NE HIdOs 13S SNOTLWOT IO
FHL WYOA3d OL SIGYIY ONY NOIASH  NNOHS
“WLOL FHL 40 LNNOWY SHL NI 3OTAMAS HO-ONY ts.
$0009 JO LdI3038 S3NCSWONHIW NaCTOHCAY

0089 '1S) BABBROBEAR “YA: JAbB4z99 'NN
ADCTOLCSSEAVAZED Jb aTOTPROABABBOY -O1v
‘ CavIAI SHH

x SAMMLYNOTS

413
TASST-SWOde = IOaLNOI

+4 t "ROL
Zp q dl

Te "8a + + TRPORGNS
et" B h SXHL MPU
eo°2 gs XH F9Rag
ai" Ts % “NOME
reese’ HL
GbOSOG *ANTOANT = SMAWAB <3000 HLA
96 L oonieok soLK
*1oo¥
Sa1vs
9tS2oGrbbibT2 © SBENAPLL 611800
OE LNYHONAH QI TNIWYSL HILvd
HIY Ob Se" he GT'TT une
ISOH SMTL jiva
Nene NYS
NOI] 30 3ONOd BAY 6S9
MHHYAEW OD05

EGU ta) Oc}

af A £8)

rnc

JeschoC been oa ee bib ek i fet ik ok

GE" PLS = NIGH NS 30 Oz 13
26'21$ = NIQNO NS Jd ¥Bl 13
94"OL$ = NAGHO NS Jd ¥G1 13

VOINTINI ON VOIYISNS YNTdOdd
Jeeta obo bach deb bbbiobbaob beadce

Hd 961252 GLOZ/LL/9

D> Hd YOM «
10°06 TWO!

ZL"0 ‘ML WL ALTO

yG"d 'HS"OL XWL NAT

GL"LL MWLOL gng
00°2 ®[09 Poor
PULd BI B <
G2'6I 13014 HS14 O3NWILS
G21 NAYOTHD SOWL TWHANAE
OJUWLG O000 «
S29) WHS Yiddad ‘ LIOvul
05°61 d) AVNNOCSYHO He
00°2 4409 1a1(
00°2 B09 PaO}
Z 'sjsany yd :3ig
Ul aUuLg pO2Zl i Jap
| :uOLqeIg 'y WLYeIqy seal

2éc0-vel (/BL)
LO800 Yd ‘NWN NS
659 # NOI) 30 JONDd ‘JAY
HYNVYTM 0908

Pueblo®

=e
eg
Zen
= 8
=
S35
at

$1.69 712
$1.69
$7) .69

$0.18
$1.89

$0.02
$20.00
$18.11

DELY

TOTAL
Item count

Cash

Items Subtotal

REFRESCO GRANDE
Subtotal

GOV [$1.69]
MUN [$1.69]

Change
#116-007 6/9/2019 12:37:30 Kelvan Fle

Inve :00128292 Trs#; 128612

Kelyan Flo
Case 3:12-cv-02039-FAB Document1275 Filed 07/08/19 Page 11o0f11

SOGO MIRAMAR
AVE. PONCE DE LEON # 659
SAN JUAN, PR 00307
(787) 724-0222

Gy

aes

: idn: MIRAMAR
Mesero: tony = Estacion: 1 oi = rae De Lem
# de Orden: 12205 ~ Hesas ae aie vast
* . a. 748:59
Mesa: Dt Personas: 2 7 oe noe S  HERCHANT 1D
1 Coca Cola 2.00 mene Takes: “TERE
1 Dist Coke 9.00 SALE
1 RM CHARDONNAY CP 6.75 ane
1 RM CHARDONNAY cP 6.75 —rixiicnaemis 795
1 SOGO FRIED RICE 14.50
1 TRADIT. PEPPER STEAK 16.75 AUTH, COD: 6175S TNVOICE: 04966
> poco pimenton .
1 CH, TERIVAKI 15,75 TRAE 006230
1 ORANGE CHICKEN 15.75 .
1 SOUTH SEA SUPREME 23.50 om |S Se Be
1 RM oe cP 6.75 fun. TAX: 4.19
1 RM CHARDONNAY CP 6.75
1 Coca Cola 7,00 Subtotal: is2.ss
TOT mu oe
SUB TOTAL: 119.25 .
TVU TAX 10.5%: 12.53 om: |p 160-W%
CITY TAX 1%: 1.20
=SSS==== CONTROL= 3NZUG --DLIBSB
TOTAL: $132.98 ET
>> # de cuenta: 29 << SIGNATURE: ¥_
8/9/2019 6:28:18 PM ves
Alb: ABEBBGBBA4IG1G AC: POABBBZEAAASBEGB
Jeb bao bsbob a ohebks siiniabg UN: 4EFB41D8 ‘TVR: @B@neee208 TSI: 6980

PROPINA SUGERIDA NO INCLUIDA 1 5 RECEIPT oF GOODS
AND-OR SERVICE IN THE AMOUNT OF THE TOTAL
EL 15% DE SU ORDEN = $17.89 SHON HEREON AND AGREES TO PERFORM THE

EL 18% DE SU ORDEN = $21.47 OBLIGATIONS SET FORTH IN THE CARDHOLDER’S
EL 20% DE SU ORDEN = $23.85

FRRERERETAAES ESAS REAR ERE EEEL SESE ER EE
